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                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

     AUSTIN MARK EVELAND,

               Plaintiff,
                                                          CIVIL NO. 3:18-CV-0794
       v.
                                                          (Judge Caputo)
     COLUMBIA COUNTY PRISON, et al.,

               Defendants


                                        MEMORANDUM

I.        Introduction

          Austin Mark Eveland, an inmate formerly housed at the Columbia County Prison

in Bloomsburg, Pennsylvania, commenced this action on April 13, 2018. 1 (ECF No. 1.)

Plaintiff appears prose and seeks to proceed in forma pauperis. (ECF No. 2.) Named

as Defendants are Warden David Varano and the Columbia County Prison. (ECF No.

1.)

          The Court proceeds to review and screen the Complaint pursuant to 28 U.S.C. §

1915(e)(2)(B).         For the reasons set forth below, Mr. Eveland's motion for leave to

proceed in forma pauperis will be granted. However, his Complaint will be dismissed for

failure to state a claim pursuant to 28 U.S.C. § 1915(e)(2)(B)(ii). This dismissal will be

without prejudice to Mr. Eveland's right to file an amended complaint within twenty-one

days if he can cure the identified defects.

          1
              Mr. Eveland is presently housed at the Montour County Prison in Danville, Pa. (ECF
No. 1.)
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11.    Standard of Review for Screening Pro Se In Forma Pauperis Complaints

       When a litigant seeks to proceed in forma pauperis, without payment of fees, 28

U.S.C. § 1915 requires the court to screen the complaint.               See 28 U.S.C. §

1915(e)(2)(B). Likewise, when a prisoner seeks redress from a government defendant

in a civil action , whether proceeding in forma pauperis or not, the court must screen the

complaint. See 28 U.S.C. § 1915A(a). Both 28 U.S.C. § 1915(e)(2)(B) and§ 1915(A)

give the court the authority to dismiss a complaint if it is frivolous, malicious, fails to

state a claim on which relief may be granted, or seeks monetary relief from a defendant

who is immune from such relief. See 28 U.S.C. § 1915(e)(2)(B)(i) - (iii) ; 28 U.S.C. §

1915A(b)(1)-(2); Ball v. Famiglio, 726 F.3d 448, 452 (3d Cir. 2013).

       A complaint is frivolous if it lacks an arguable basis either in law or fact. See

Mitchell v. Hom , 318 F.3d 523, 530 (3d Cir. 2003) (citing Neitzke v. Williams , 490 U.S.

319, 327-28 , 109 S.Ct. 1827, 1832-33, 104 L.Ed.2d 338 (1989)). In deciding whether

the complaint fails to state a claim on wh ich relief may be granted, the court employs

the standard used to analyze motions to dismiss under Fed. R. Civ. P. 12(b)(6). See

Allah v. Seiverling, 229 F.3d 220, 223 (3d Cir. 2000). Under Rule 12(b)(6), the court

"must accept all of the complaint's well-pleaded facts as true, but may disregard any

legal conclusions. " Fowler v. UPMC Shadyside, 578 F.3d 203, 210-11 (3d Cir. 2009)

(citing Ashcroft v. Iqbal, 556 U.S. 662, 678-79, 129 S.Ct. 1937, 1949-50, 173 L.Ed .2d

868 (2009)). The court may also rely on exhibits attached to the complaint and matters

of public record . Sands v. McCormick, 502 F.3d 263 , 268 (3d Cir. 2007).

       A complaint must contain "a short and plain statement of the claim showing that

the pleader is entitled to relief .. ." Fed . R. Civ. P. 8(a)(2). A complaint is required to

provide "the defendant fair notice of what the .. . claim is and the grounds upon which it



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rests." Phillips v. Cty. of Allegheny, 515 F.3d 224, 232 (3d Cir. 2008) (quoting Bell At/.

Corp. v. Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955, 1964, 167 L.Ed.2d 929 (2007)) .

        To test the sufficiency of the complaint, the court "must take three steps."

Connelly v. Lane Constr. Corp., 809 F.3d 780, 787 (3d Cir. 2016). First, a court must

"take note of the elements a plaintiff must plead to state a claim."          Id.   (internal

quotations and brackets omitted) . Second, the court must identify allegations that are

merely legal conclusions "because they . . . are not entitled to the assumption of truth ."

Id.   While detailed factual allegations are not required , "[t]hreadbare recitals of the

elements of a cause of action , supported by mere conclusory statements, do not

suffice." Iqbal, 556 U.S. at 678, 129 S.Ct. at 1949 (citing Twombly, 550 U.S. at 555,

127 S.Ct. at 1964). Third , a court should assume the veracity of all well-pleaded factual

allegations and "then determine whether they plausibly give rise to an entitlement to

relief. " Connelly, 809 F.3d at 787 (quoting Iqbal, 556 U.S. at 679 , 129 S.Ct. at 1949).

       A complaint filed by a pro se plaintiff must be liberally construed and "held 'to

less stringent standards than formal pleadings drafted by lawyers."' Fantone v. Latini,

780 F.3d 184 (3d Cir. 2015) (citing Haines v. Kerner, 404 U.S. 519, 520-21 , 92 S.Ct.

594 , 596 , 30 L.Ed.2d 652 (1972)) ; see also Erickson v. Pardus, 551 U.S. 89, 94, 127

S.Ct. 2197 , 2200 , 167 L.Ed .2d 1081 (2007) . Yet, even a prose plaintiff "must allege

sufficient facts in their complaints to support a claim ." Mala v. Crown Bay Marina, Inc.,

704 F.3d 239 , 245 (3d Cir.2013) (citation omitted). Pro se litigants are to be granted

leave to file a curative amended complaint even when a plaintiff does not seek leave to

amend , unless such an amendment would be inequitable or futile.            See Estate of

Lagana v. Bergen Cty. Prosecutor's Office, 769 F.3d 850 , 861 (3d Cir. 2014).




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Ill.    Allegations of the Complaint

        The allegations of Mr. Eveland's Eighth Amendment excessive use of force claim

are very brief. Plaintiff claims that on September 5, 2017, he was choked unconscious

by unidentified Columbia County Prison corrections officers. The event occurred in the

prison's solitary confinement area, off camera.         Unidentified officers opened Mr.

Eveland 's cell door without first placing him in restraints. Mr. Eveland claims the officers

"didn't follow protocol. In which is why [he is] suing Columbia County Prison." (ECF No.

1).    Mr. Eveland continues to suffer from post-traumatic stress because of this

unprovoked assault. He seeks monetary damages as relief. (Id.)



IV.     Discussion

        Federal law provides a cause of action to a plaintiff who can prove that a person

acting under color of state law deprived him of a right, privilege, or immunity protected

by laws or the Constitution of the United States. See 42 U.S.C . § 1983; Rehberg v.

Pau/k,566 U.S. 356 , 361, 132 S.Ct. 1497, 1501 , 182 L.Ed.2d 593 (2012); Mack v.

Warden Loretto FCI, 839 F.3d 286 , 302 (3d Cir. 2016).           As discussed below, Mr.

Eveland has failed to state a cognizable claim under section 1983 against either

Warden Varano or the Columbia County Prison based on the allegations in the

Complaint.

        A.    Warden Varano

        Individual liability can be imposed under 42 U.S.C. § 1983 only if the state actor

played an "affirmative part" in the alleged misconduct and "cannot be predicated solely

on the operation of respondeat superior." Evancho v. Fisher, 423 F.3d 347, 353 (3d Cir.

2005) (quoting Rode v. Dellarciprete, 845 F.2d 1195, 1207 (3d Cir. 1998)); Sutton v.



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Rasheed, 323 F.3d 236 , 249 - 50 (3d Cir. 2003).           The personal involvement of a

defendant in a § 1983 action may be shown "through allegations of personal direction or

of actual knowledge and acquiescence." Argueta v. U.S. ICE, 643 F.3d 60, 72 (3d Cir.

2011) (quoting Rode, 845 F.2d at 1207). Such allegations, however, must be made

with appropriate particularity in that a compliant must allege the particulars of "conduct,

time, place, and persons responsible. " Evancho , 423 F.3d at 354; Rode, 845 F.2d at

1207 - 08.    Alleging a mere hypothesis that an individual defendant had personal

knowledge or involvement in depriving the plaintiff of his rights is insufficient to establish

personal involvement. Rode, 845 F.2d at 1208. Moreover, a defendant "cannot be held

responsible for a constitutional violation which he or she neither participated in nor

approved ."   C.H. ex rel. Z.H. v. Olivia, 226 F.3d 198, 201 - 202 (3d Cir. 2000).

Allegations that a supervisor "had constructive knowledge of a subordinate's

unconstitutional conduct simply because of his role as a supervisor" do not suffice.

Broadwater v. Fow, 945 F.Supp.2d 574 , 588 (M.D. Pa. 2013) (citing C.H. ex rel. Z.H.,

226 F.3d at 202)).

       Mr. Eveland names Warden Varano as a defendant in his Complaint. However,

Mr. Eveland does not allege any facts establishing a basis of liability against Warden

Varano.   Plaintiff does not allege what actions Warden Varano took that led to the

alleged violation of his rights. Accordingly, Warden Varano will be dismissed due to Mr.

Eveland's failure to allege Warden Varano's personal involvement in any alleged

constitutional violations.   However, Plaintiff will be granted leave to file an amended

complaint as to this defendant.




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       B.      Columbia County Prison

       Although a county may be liable under § 1983 for creating policies or customs

that violate the Constitution, see Monell v. Dept. of Social Services of City of New York,

436 U.S. 658 , 98 S.Ct. 2018, 56 L.Ed .2d 611 (1978), a county jail is not a proper

defendant under § 1983 as it is a "person". 2 A county prison does not have the legal

capacity to be sued in its own name. See Birckbichler v. Butler Cty Prison , No. 07-

1655, 2009 WL 2986611 at *5 (W.D. Pa. Sept. 17, 2009) (collecting cases) . Hence, the

Columbia County Prison will be dismissed as a defendant.             Because it would be futile

for Mr. Eveland to amend his § 1983 claim against the Columbia County Prison, this

defendant will be dismissed with prejudice.



       C.      Leave to Amend

       Mr. Eveland will be granted twenty-one days to file an amended complaint

alleging the personal involvement of Warden Varano and any others he claims were

involved in the September 5, 2017-assault. If Mr. Eveland decides to file an amended

complaint, he is advised he must clearly designate on the face of the document that it is

the "Amended Complaint," it must bear the docket number assigned to this case, and it

must be retyped or legibly rewritten in its entirety, preferably on the court-approved

form . In addition , the "amended complaint must be complete in all respects. It must be

a new pleading which stands by itself as an adequate complaint without reference to the

complaint already filed." Young v. Keohane, 809 F. Supp. 1185, 1198 (M .D. Pa. 1992).

Mr. Eveland is advised that any amended complaint he may file supersedes (replaces)

       2 The Supreme Court, however, has established that § 1983's definition of "person"
includes municipalities and other local government entities. Monel/J.. 436 U.S. at 690 - 91 , 98
S.Ct. at 2035 - 36.



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the original complaint.     In addition, it must be "retyped or reprinted so that it will be

complete in itself including exhibits. " M.D. Pa. LR 15.1; see also W Run Student Hous.

Assocs. V. Huntingdon Nat'/ Bank, 712F.3d165, 171 (3d Cir. 2013). Consequently, all

causes of action alleged in the original complaint which were not dismissed with

prejudice and are not alleged in the amended complaint are waived .

          Mr. Eveland is also advised that his amended complaint must be concise and

direct.    See Fed . R. Civ. P. 8(d) .    Each allegation must be set forth in individually

numbered paragraphs in short, concise and simple statements.           Id.   The allegations

should be specific enough as to time and place and should identify the specific person

or persons responsible for the deprivation of his constitutional rights and what each

individual defendant did that led to deprivation of his rights. Iqbal, 556 U.S. at 676, 129

S.Ct. at 1948. Plaintiff must also specify the relief he seeks. Mr. Eveland's failure to file

an appropriate amended complaint within the required time will result in the Court

directing the Clerk of Court to close the case.        Finally, Plaintiff is reminded of his

obligation to advise the Court of any change of address. See M.D. Pa. LR 83.18. His

failure to do so will be deemed as his abandonment of the lawsuit resulting in the

dismissal of the action.

          An appropriate order follows.




Date: February        7    ,2019
                                               A.~D~
                                               United States District Judge




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